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                           CERTIFICATE OF SERVICE



  I hereby certify that on September 25, 2024, I electronically filed the foregoing
  document with the Clerk of the Court using the CM/ECF System.



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